
980 A.2d 225 (2009)
In the Matter of Nathaniel J. NAZARETH, Jr.
No. 2009-290 M.P.
Supreme Court of Rhode Island.
September 23, 2009.
David Curtin, Disciplinary Counsel.
Peter A. DiBiase, Esq.

ORDER
On September 23, 2009, this Court's Chief Disciplinary Counsel filed a Petition for Interim Suspension which avers that the Respondent, Nathaniel J. Nazareth, Jr., a member of the Rhode Island Bar, has engaged in serious professional misconduct.
The Respondent, through his counsel, has notified the court that he has no objection to this court granting the relief sought in the petition.
Accordingly, it is ordered, adjudged and decreed that the Respondent, Nathaniel J. Nazareth, Jr., be and he is hereby suspended from engaging in the practice of law in this State until further Order of this Court.
It is further ordered that David D. Curtin, Chief Disciplinary Counsel be appointed as Special Master to take possession of all Respondent's client files and accounts; to inventory them, and to take whatever steps are necessary to protect the clients' interest. Disciplinary Counsel is further empowered to enter upon Respondent's office premises in order to effectuate this Order.
